
670 S.E.2d 232 (2008)
Caroleen Myers HAMILTON, Executor of the Estate of Ronnie C. Hamilton, Sr., Deceased
v.
THOMASVILLE MEDICAL ASSOCIATES, INC. and Oscar M. Blackwell, M.D.
No. 25P08.
Supreme Court of North Carolina.
December 11, 2008.
Elizabeth Horton, for Thomasville Medical Asso., et al.
*233 Charles O. Peed, Winston-Salem, for Hamilton.
Richard V. Bennett, Joshua H. Bennett, Winston-Salem, Kimberly S. Shipley, Greensboro, for Asso. of Defense Attorneys.
Prior report: ___ N.C.App. ___, 654 S.E.2d 708.

ORDER
Upon consideration of the petition filed on the 22nd day of January 2008 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of December 2008."
